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                                                                                 JAMEs J. VILT, CLERK
               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT                               JAN O7 20 f
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                                    I.       INTRODUCTION                          U.S. DISTRICT COURT
                                                                                  WEST'N. DIST. KENTUCK
       I, Special Agent William B. Kurtz, having been duly sworn, depose and state:                        Y

        1.      I am a Special Agent with the Federal Bureau oflnvestigation (FBI) and have been

so employed since June 2014. My duties, responsibilities, and training as a Special Agent with

the FBI include investigating violations of federal law. I have experience investigating fraud

schemes, violent crimes, online threats, and investigations involving the online exploitation of

children, as well as other crimes which involve the use of telephones, email, and the internet as a

means of communication. Many of my investigations involve the use of technology, analyzing

online and telephonic contacts, and researching suspects' online activity and footprints. I have

become familiar with the day-to-day operations of individuals using social media and email

accounts to communicate and coordinate fraudulent activities. I am also aware that individuals

engaged in criminal activities will create multiple online personas in order to conceal their

identity, increase their ability to operate online, and to conceal the scope of their online activities.

        2.      This Affidavit is submitted in support of the Application for a Criminal

Complaint and Arrest Warrant for James Keith Ray (hereafter Ray), DOB XXIXX/1973 and

SSN: XXX-XX-4041 for violations of Title 18 U.S.C. § 875(c), (interstate transmission of a

threat to injure the person of another).

        3.      In connection with my official duties, I have obtained the following information

through my own investigation and from other law enforcement agencies. Because this affidavit

is being submitted for the limited purpose of establishing probable cause in support of the

application for a criminal complaint, I have not included each and every fact known to me




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concerning this investigation. I have instead set forth only those facts that I believe are

necessary to establish the required probable cause.

                      II.   FACTS SUPPORTING PROBABLE CAUSE

       4.      On December 25 , 2020 at approximately 6:29am a recreational vehicle (RV)

exploded in the 160 block of 2 nd Avenue North in Nashville, Tennessee. The explosion occurred

in close proximity to an AT&T building on 2 nd Avenue North. In the hours following the blast

law enforcement authorities worked to determine who was responsible for the blast and to

determine whether the perpetrator was on the loose or had been killed in the explosion.

       5.      Later the same day the FBI received a tip regarding concerning statements Ray

made toward AT&T. The tip indicated that in mid-December 2020, an individual named Ray

was ranting about how AT&T was abusing their power and how their (AT&T's) policies were

criminal. The FBI undertook steps to locate and interview Ray in order to determine what if

any involvement he had in the explosion. Searches of law enforcement databases identified Ray

had made prior concerning statements that came to the attention of the FBI.

       6.      On or about September 13, 2016, the FBI Bowling Green, Kentucky RA was

notified of a possible threat posted online by Ray. Ray posted comments on Facebook

regarding his dissatisfaction with AT&T, Apple, Facebook, Walmart, and Independence Bank

in Bowling Green, Kentucky. Some of the comments included:

            a. "I have general household items for sale. Will consider trade for firearms and

               weaponry. Contact me."

            b. "Somebody needs to roll back that whole damn crew. Hope it doesn't have to be

               me."

            c. "#FBI last call before i act on your behalf."



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On September 13, 2016 Ray was interviewed by Task Force Officers (TFO) from the FBI

regarding the above statements. During the interview a FBI TFO spoke with Ray's parents who

stated they were afraid of Ray and locked their bedroom door at night.

        7.      Additionally on or about July 2, 20 18 the Metro Nashville Police Department

 was made aware of an email sent by Ray to a local NBC affiliate which contained a link to a

 YouTube video and expressed frustration over alleged harassment the subject claimed to be the

 victim of by multiple persons and law enforcement entities in Kentucky. Ray demanded an

 explanation to one of the perceived wrongs "or else." No specifics were given as to what Ray

 meant by "or else." Additionally, Ray referenced the shooting at the Capital Gazette in

 Annapolis, MD, stating that media persons would soon be wearing body armor

        "because people like myself are being harassed to the point of distraction by companies
        and individuals who are affiliated with the stations in the stations choose to ignore real
        life news stories And instead for the populace with propaganda garbage and malicious
        targeted information. let the so-called story out of Maryland ring through to your offices
        and you look around and imagine the shock you're going to realize that half of the
        people that you see right now might be dead by the weekend at the hand of someone
        who isn't a strong as I am that has a little bit more of a temper than I do."

On September 12, 2018 the FBI again interviewed Ray regarding the above emails. Ray stated he

had just completed a 28-day residential treatment at the Western State Hospital in Hopkinsville,

Kentucky and was not threat to himself or others. Ray joked he was a threat to himself because

of his mouth. Ray stated he did not recall sending emails to any news station.

        8.      On the evening of December 25, 2020 law enforcement officers, including FBI

 Special Agent James M. Brown, located and interviewed Ray at his home located in Henderson,

Kentucky. Ray lives in the home with his parents. Ray primarily lives in the basement of the

residence but has access to the entire house and spends time in the detached garage located on

the property. During the interview, the FBI was able to rule out Ray as a suspect in the bombing



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that occurred that morning. Unbeknownst to investigators at the time, Ray surreptitiously

recorded the interview and on or about December 28, 2020 posted the recording of the interview

on his YouTube channel.

        9.        On January 5, 2021 the FBI learned that Ray, utilizing Twitter account

@JKeithRayl , posted threatening statements directed toward Special Agent Brown. Specifically,

Ray posted the fo llowing:

              ~       Tweet

                      J Keith Ray                                                          0


                      @JKeithRay 1


             The ma n speaking identified him self as age nt Brown
             from the Owensboro FBI office and told me verbatim
             that his boss called him and said that that RV was
             registered to someone in my fam ily I want that fuckers
             bosses name
             1:29 PM • Jan 5, 2021 · Twitter Web App




              ~       Tweet

                      J Keith Ray                                                    000


                      @JKeithRay1


             Agent brown if you ever step on this property while I'm
             here you are a dead man do you hear me there is no
             amount of armor that will protect you from the range
             of my fucking soul
             1:30 PM · Jan 5, 2021 · Twitter Web App




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        10.    The affiant, who was located in Bowling Green, Kentucky, viewed the above

tweets the evening of January 5, 2020. On January 5, 2021 Special Agent Brown confirmed that

the individual pictured on the @JKeithRayl Twitter account was Ray. Additionally, given the

accurate references to Special Agent Brown' s interview contained within the posts, the affiant

believes the @JKeithRayl Twitter account belongs to and is operated by Ray.

                                       III.    CONCLUSION

        11 .   Based upon the above evidence I believe there is probable cause to believe that

on or about January 5, 2021, Ray committed violations of Title 18 U.S.C. § 875(c), (interstate

transmission of a threat to injure the person of another).




      Subscribed and Sworn to before me on January _7__, 2021 in Bowling Green, Kentucky




      Bowling Green, Kentucky




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